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           NOTICE OF APPEARANCE OF N. KIRKLAND POPE


PARTIES REPRESENTED:
Neal Bradshaw and Virginia Bradshaw
Patrick Buchanan and Pauline Buchanan
Rebecca Dumler and Dennis Dumler
Steven Gale and Sharon Boone
Stephen K. Garfield and Alexandra Garfield
Cedric L. Hill and Tracie L. Hill
William Hofer and Kay Hofer
Mildred E. Kief
Michael A. Matuszko and Deborah Matuszko
Augustine Ridolfi
Karriem Sharif and Eileen Harlee
Johnny C. Simpson and Elizabeth Simpson
Danny A. Tzakis and Diane Tzakis


SHORT CASE CAPTION(S):

Neal Bradshaw and Virginia Bradshaw v. Wright Medical Technology, Inc., et al.,
USDC Utah, Case No. 1:16-cv-00108

Patrick Buchanan and Pauline Buchanan v. Wright Medical Technology, Inc.,
USDC Central District of California, Case No. 2:19-cv-04824

Rebecca Dumler and Dennis Dumler v. Wright Medical Technology, Inc., USDC
Northern District of Iowa, Case No. 6:17-cv-02033

Steven Gale and Sharon Boone v. Wright Medical Technology, Inc., USDC
Minnesota, Case No. 0:20-cv-01009

Stephen K. Garfield and Alexandra Garfield v. Wright Medical Technology, Inc.,
USDC Massachusetts, Case No. 1:18-cv-11872

Cedric L. Hill and Tracie L. Hill v. Wright Medical Technology, Inc., USDC
Northern District of Iowa, Case No. 6:20-cv-02032
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William Hofer and Kay Hofer v. Wright Medical Technology, Inc. et al., USDC
Southern District of California, Case No. 3:18-cv-01991

Mildred E. Kief v. Wright Medical Technology, Inc., USDC Maine, Case
No. 1:18-cv-00035

Michael A. Matuszko and Deborah Matuszko v. Wright Medical Technology, Inc.,
USDC Massachusetts, Case No. 3:20-cv-10200

Augustine L. Ridolfi v. Wright Medical Technology, Inc., USDC Eastern District of
Wisconsin, Case No. 2:20-cv-00680

Karriem Sharif and Eileen Harlee v. Wright Medical Technology, Inc., USDC
Northern District of Georgia, Case No. 1:20-cv-01300

Johnny C. Simpson and Elizabeth Simpson v. Wright Medical Technology, Inc.,
USDC Eastern District of Arkansas, Case No. 5:17-cv-00062

Danny A. Tzakis and Diane Tzakis v. Wright Medical Technology, Inc., USDC
Western District of Wisconsin, Case No. 3:19-cv-00545
